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 5 Attorneys for:
   WILLIAM BOHAC
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 11-CRS-0323-JAM

11                                   Plaintiff,         STIPULATION AND ORDER RESETTING J&S
                                                        TO 4/14/15
12                           v.

13   WILLIAM BOHAC,
                                     Defendant.
14

15
                                                  STIPULATION
16
            1.      It is hereby stipulated by and between Assistant United States Attorney JARED DOLAN,
17
     and Attorney Dina L. Santos, Counsel for Defendant WILLIAM BOHAC, that the current date
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     scheduled for February 24, 2015, be vacated and the matter be continued to this Court’s criminal
19
     calendar on April 14, 2015, at 9:15 a.m. for judgment and sentencing.
20
     Dated: February 20, 2015                               BENJAMIN B. WAGNER
21                                                          United States Attorney

22
                                                            /s/ Jared Dolan
23                                                          JARED DOLAN
                                                            Assistant United States Attorney
24

25 Dated: February 20, 2015                                 /s/ Dina L. Santos
                                                            DINA SANTOS, ESQ.
26                                                          Attorney for William Bohac

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      Stip. & [Proposed] Order Continuing J&S           1
             Case 2:11-cr-00323-JAM Document 181 Filed 02/23/15 Page 2 of 2


 1

 2                                             ORDER

 3         IT IS SO FOUND AND ORDERED this 20th day of February, 2015

 4                                                    /s/ John A. Mendez

 5
                                                     HON. JOHN A. MENDEZ
 6                                                   UNITED STATES DISTRICT COURT JUDGE

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     Stip. & [Proposed] Order Continuing J&S     2
